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            IN THE    UNITED     STATES      DISTRICT     COURT    FOR THE
                        SOUTHERN DISTRICT           OF   GEORGIA
                                 AUGUSTA DIVISION




UNITED     STATES     OF AMERICA              *


      v.                                      *             CR    113-220


GILBERTO     FABONA GAONA                     *




                                       ORDER




      On October 14,           2015,    this Court denied Defendant relief

under 18 U.S.C.         § 3582(c)(2)         after a thorough review of the

applicability of Amendment 782 to the United States Sentencing

Guidelines.        Amendment 782 amended the drug quantity tables of

U.S.S.G.     §    2D1.1,       thus    reducing      the    guideline       range   for

offenders sentenced thereunder.                   In denying Defendant relief,

the Court determined that Defendant was not eligible for a

reduction because the statutory minimum term of 12 0 months was

applicable to his case, and therefore his sentence could not

be   reduced below that          term.


       Presently,          Defendant          has        filed     a   motion       for

reconsideration of the Order of October 14,                        2015.     Defendant

insists     that      Amendment        782   reduced      his    guideline    range.

Defendant is not entirely wrong; he just is not entitled to

the relief       he   seeks.

       Defendant pleaded guilty to a conspiracy to distribute
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and possess with intent to                 distribute        5 0 grams     or more      of

methamphetamine.             At    sentencing,        his    guideline       range     was

determined     to     be    12 0   to    135    months     because     the    statutory

minimum for the crime he committed is ten years (12 0 months) ,

see 21 U.S.C.       § 841(b)(1)(A).              Amendment 782 did not change

the applicable statutory minimum.                         In fact,    the Sentencing

Commission      does        not    have        the   authority        to     nullify     a

Congressionally-mandated term of                     imprisonment.           See United

States    v.   Feauto,       146    F.    Supp.      3d    1022    (N.D.     Iowa   2015)

(thoroughly discussing this issue).                       So, while Amendment 782

may affect Defendant's initial calculations under U.S.S.G.                               §

2D1.1,   it    does    not    lower his         guideline         range because      that

range is now established solely by the mandatory minimum term

of 10 years.        See U.S.S.G.          § 5Gl.l(b)        (uWhere a statutorily

required minimum sentence is greater than the maximum of the

applicable guideline range, the statutorily required minimum

sentence shall be the guideline sentence." (emphasis added));

United States v. Hope, 642 F. App'x 961, 964 (11th Cir. 2016)

("An amendment has no effect on a guideline range set solely

by a statutory mandatory minimum under U.S.S.G. § 5Gl.l(b) .")

Thus,    because      the    statutory mandatory minimum sentence                       is

higher than the maximum of any amended guideline range, the

statutory minimum of 10 years (120 months) becomes Defendant's

guideline range.
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     Upon       the       foregoing,   Defendant's      motion       for

reconsideration of the denial of a sentence reduction under §

3582(c)(2)   (doc. 488)   is hereby DENIED.

     ORDER ENTERED at Augusta, Georgia, this          /^/^ day of
September,   2016.




                                   HONORABLE J. RANDAL HALL
                                   UNITEO STATES   DISTRICT    JUDGE
                                   SOUTHERN DISTRICT    OF   GEORGIA
